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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2018, I caused a copy of the foregoing to be served by ECF

on counsel of record herein, and by e-mail upon all parties listed on the Core/Rule 2002 list

annexed hereto, at the addresses set forth therein.

                                                      /s/ Jeffrey Chubak
                                                                                    Case 18-10248-MFW                                    Doc 519-4                          Filed 04/09/18               Page 2 of 5
                                                                                                                                      In re:  The Bon‐Ton Stores, Inc., et al.
                                                                                                                                               Core/2002 Service List
                                                                                                                                                 Case No. 18‐10248

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                                                                                                                                                     Core/2002 Service List
                                                                                                                                                       Case No. 18‐10248

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                                                                                      Case 18-10248-MFW                                    Doc 519-4                        Filed 04/09/18               Page 5 of 5
                                                                                                                                         In re:  The Bon‐Ton Stores, Inc., et al.
                                                                                                                                                  Core/2002 Service List
                                                                                                                                                    Case No. 18‐10248

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